                                                                                                Case 2:21-cv-09774-FMO-JC Document 1 Filed 12/17/21 Page 1 of 45 Page ID #:1




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                                                                                                 9                   UNITED STATES DISTRICT COURT
                                                                                                10                  CENTRAL DISTRICT OF CALIFORNIA
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                                                                                                11                            WESTERN DIVISION
                                                                                                12
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13 JCCRANDALL LLC, a California             CASE No.
                                                                                                   limited liability company,
                                                                                                14                                          VERIFIED COMPLAINT FOR:
                                                                                                               Plaintiff,                   1. VIOLATION OF 18 U.S.C.
                                                                                                15
                                                                                                         v.                                    § 1961(c)
                                                                                                16                                          2. VIOLATION OF 18 U.S.C.
                                                                                                   SANTA RITA HOLDINGS, INC.,                  § 1961(d)
                                                                                                17 a California corporation;                3. QUIET TITLE TO
                                                                                                   KIM HUGHES, Trustee of the                  EASEMENT USE;
                                                                                                18 Hughes Land Holding Trust Dated          4. PUBLIC AND PRIVATE
                                                                                                   2/22/03;                                    NUISANCE; AND
                                                                                                19 ALL PERSONS UNKNOWN                      5. DECLARATORY RELIEF
                                                                                                   CLAIMING ANY LEGAL OR
                                                                                                20 EQUITABLE RIGHT, TITLE
                                                                                                   ESTATE, LIEN OR INTEREST                 JURY TRIAL DEMANDED
                                                                                                21 IN THE REAL PROPERTY
                                                                                                   DESCRIBED IN THIS
                                                                                                22 COMPLAINT ADVERSE TO
                                                                                                   PLAINTIFF’S TITLE, OR ANY
                                                                                                23 CLOUD ON PLAINTIFF’S TITLE
                                                                                                   THERETO; and DOES 1 through
                                                                                                24 10, inclusive,
                                                                                                25              Defendants.
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                                                                                                                                 VERIFIED COMPLAINT
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                                                                                                 1             Plaintiff JCCRANDALL LLC (“Plaintiff”), through this Verified
                                                                                                 2 Complaint for (1) Violation of 18 U.S.C. § 1961(c), (2) Violation of 18
                                                                                                 3 U.S.C. § 1961(d), (3) Quiet Title to Easement, (4) Public and Private
                                                                                                 4 Nuisance, and (5) Declaratory Relief (the “Complaint”), complains and
                                                                                                 5 alleges as follows:
                                                                                                 6                                    THE PARTIES
                                                                                                 7             1.   Plaintiff is a California limited liability company organized
                                                                                                 8    and existing under the laws of the State of California. Plaintiff owns
                                                                                                 9    the real property commonly known as Santa Barbara County Assessor
                                                                                                10    Parcel Nos. 099-110-006 and 099-110-016, which is more particularly
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                                                                                                11    described in Exhibit A attached hereto and incorporated herein (the
                                                                                                12    “Crandall Parcel”).
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                                                         10345 W. Olympic Blvd.




                                                                                                13             2.   Plaintiff is informed and believes, and on that basis alleges,
                                                                                                14    that defendant Kim Hughes, as Trustee of the Hughes Land Holding
                                                                                                15    Trust Dated 2/22/03 (“Hughes”), is the owner of the real property
                                                                                                16    commonly known as Santa Barbara County Assessor Parcel Nos.
                                                                                                17    099-110-060 and 099-110-061, which is more particularly described in
                                                                                                18    Exhibit B attached hereto and incorporated herein (the “Hughes
                                                                                                19    Property”).
                                                                                                20             3.   Plaintiff is informed and believes, and on that basis alleges,
                                                                                                21    that defendant Santa Rita Holdings, Inc. (“SRH”) leases the Hughes
                                                                                                22    Property from Hughes.
                                                                                                23             4.   Plaintiff does not know the true names of defendants named
                                                                                                24    as “All Persons Unknown, Claiming Any Legal or Equitable Right, Title,
                                                                                                25    Estate, Lien or Interest in the Property Described in the Complaint
                                                                                                26    Adverse to Plaintiffs’ Title, or Any Cloud on Plaintiff’s Title Thereto”
                                                                                                27    (hereinafter referred to as the “Unknown Defendants”). Plaintiff is
                                                                                                28    informed and believes and thereon alleges that these Unknown
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                                                                                                                                     VERIFIED COMPLAINT
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                                                                                                 1    Defendants, and each of them, claim some right, title, estate, lien or
                                                                                                 2    interest in the portion of the Crandall Parcel at dispute in this action.
                                                                                                 3             5.   Plaintiff is ignorant of the true names and capacities of
                                                                                                 4    defendants named as Does 1 through 10, inclusive (“Does”), and
                                                                                                 5    therefore sues these defendants by such fictitious names (Does, along
                                                                                                 6    with Hughes, SRH, and the Unknown Defendants, are hereinafter
                                                                                                 7    referred to as the “Defendants”). Plaintiff will amend this Complaint
                                                                                                 8    to allege their true names and capacities when ascertained.
                                                                                                 9                           JURISDICTION AND VENUE
                                                                                                10             6.   The Court has subject matter jurisdiction over Plaintiff’s
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                                                                                                11    Racketeer Influenced and Corrupt Organizations Act (“RICO”) claims
                                                                                                12    under 18 U.S.C. § 1964 and 28 U.S.C. § 1331. Further, the Court has
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                                                                                                13    supplemental jurisdiction over Plaintiff’s state-law claims under 28
                                                                                                14    U.S.C. § 1367 because Plaintiff’s claims all relate to the same core of
                                                                                                15    operative fact: Defendants’ illegal cultivation of cannabis on the Hughes
                                                                                                16    Property, and the use of the Easement Road (defined below) traversing
                                                                                                17    the Crandall Property to conduct such illegal activities.
                                                                                                18             7.   Venue is proper in this Court under 28 U.S.C. § 1391(b)
                                                                                                19    because the Defendants reside in the Central District of California, a
                                                                                                20    substantial portion of the events giving rise to this suit occurred in the
                                                                                                21    County of Santa Barbara (the “County”), which lies in the Central
                                                                                                22    District of California, and the real property that is the subject of this
                                                                                                23    action is situated in the County. Venue over Plaintiff’s RICO claims is
                                                                                                24    also proper under 18 U.S.C. § 1965(a) because the Defendants reside in
                                                                                                25    the Central District of California and transact affairs in this District.
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                                                                                                                                     VERIFIED COMPLAINT
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                                                                                                 1                             FACTUAL ALLEGATIONS
                                                                                                 2             SRH’s Cultivation of Cannabis on the Hughes Property
                                                                                                 3             8.    The Crandall Parcel lies immediately to the West and
                                                                                                 4    Northwest of the Hughes Property. Both the Crandall Parcel and the
                                                                                                 5    Hughes Property do not have direct access to a public right-of-way.
                                                                                                 6    Instead, the Crandall Parcel and the Hughes Property are accessed from
                                                                                                 7    the public right-of-way, Santa Rita Road, through a private road (the
                                                                                                 8    “Easement Road”) created through that certain Deed of Easement and
                                                                                                 9    Agreement Among Land Owners, recorded as Document No. 88-061812
                                                                                                10    in the Official Records of Santa Barbara County (the “Easement”),
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                                                                                                11    which is attached hereto as Exhibit C and incorporated herein.
                                                                                                12             9.    The Easement governs use of the Easement Road. Although
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                                                                                                13    Hughes has rights to use the Easement Road through the Easement,
                                                                                                14    Plaintiff continues to own the fee interest in the portion of the Easement
                                                                                                15    Road that traverses the Crandall Parcel.
                                                                                                16             10.   The Easement Road begins at a gated entrance off of Santa
                                                                                                17    Rita Road located on the real property commonly identified as Santa
                                                                                                18    Barbara County Assessor Parcel No. 099-110-015, which Plaintiff is
                                                                                                19    informed and believes, and on that basis alleges, is owned by Jackson
                                                                                                20    Family Investments III LLC. The Easement Road then traverses
                                                                                                21    easterly to the Crandall Parcel until eventually ending at the Hughes
                                                                                                22    Property.
                                                                                                23 / / /
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                                                      Los Angeles, California 90064




                                                                                                     Figure 1. Overview of Properties at Issue
                                                         10345 W. Olympic Blvd.




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                                                                                                17                                                           Crandall
                                                                                                18
                                                                                                19                                                                      Hughes
                                                                                                20                             Jackson
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                                                                                                     Figure 2. The Easement Road
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                                                                                                                                                 VERIFIED COMPLAINT
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                                                                                                 1             11.   When the Easement Deed was entered, cannabis activities
                                                                                                 2    were prohibited under California and federal law. As a result, Plaintiff’s
                                                                                                 3    predecessor-in-interest to the Crandall Parcel did not condone the
                                                                                                 4    transportation of cannabis over the Crandall Parcel when negotiating
                                                                                                 5    and entering the Easement Deed.
                                                                                                 6             12.   Plaintiff is informed and believes, and on that basis alleges,
                                                                                                 7    that SRH cultivates cannabis on the Hughes Property and sells the
                                                                                                 8    cultivated cannabis.
                                                                                                 9             13.   Plaintiff is informed and believes, and on that basis alleges,
                                                                                                10    that Hughes consents to SRH cultivating cannabis on the Hughes
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                                                                                                11    Property, and obtains certain profits from the sale of cannabis by SRH.
                                                                                                12             14.   Plaintiff is informed and believes, and on that basis alleges,
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                                                                                                13    that SRH uses the Easement Road to transport cannabis from the
                                                                                                14    Hughes Property to Santa Rita Road.
                                                                                                15             15.   Neither Hughes nor SRH sought consent from Plaintiff to
                                                                                                16    transport cannabis over the portion of the Easement Road that
                                                                                                17    traverses the Crandall Parcel.
                                                                                                18             16.   Although Plaintiff stated to Hughes and SRH that cannabis
                                                                                                19    cannot be transported over the Crandall Parcel, Plaintiff is informed
                                                                                                20    and believes, and on that basis alleges, that SRH still transports
                                                                                                21    cannabis over the Crandall Parcel.
                                                                                                22        SRH Illegally Transports Cannabis over the Easement Road
                                                                                                23             17.   Defendants are conducting cannabis-related activities over
                                                                                                24    the Crandall Parcel.
                                                                                                25             18.   The Controlled Substances Act of 1970, 21 U.S.C. §§ 801–971
                                                                                                26    (the “Controlled Substances Act”), is a federal law that places all
                                                                                                27    regulated substances into one of five schedules. The placement scheme
                                                                                                28    is based upon the substance’s medical use, potential for abuse, and
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                                                                                                 1    safety or dependence liability. Cannabis is currently a Schedule I
                                                                                                 2    controlled substance, 21 C.F.R. § 1308.11(d)(31), and it is listed among a
                                                                                                 3    group of drugs that includes heroin and morphine. Id. at (c)(11), (15).
                                                                                                 4             19.   The recent legalization of cannabis under California law does
                                                                                                 5    not change the status of cannabis under federal law. The Supremacy
                                                                                                 6    Clause of the U.S. Constitution provides that “[t]his Constitution, and
                                                                                                 7    the Laws of the United States which shall be made in pursuance thereof
                                                                                                 8    … shall be the supreme Law of the Land….” U.S. CONST. art. VI; see
                                                                                                 9    also Gonzales v. Raich, 545 U.S. 1, 26 (2005) (confirming that the federal
                                                                                                10    government can enforce the restrictions of the Controlled Substances
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                                                                                                11    Act on intrastate activities). As one federal court explained, marijuana
                                                                                                12    remains “contraband” under federal law and, “in the event of a conflict
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                                                         10345 W. Olympic Blvd.




                                                                                                13    between federal and state law with regard to marijuana, ‘federal law
                                                                                                14    shall prevail’….” United States v. Parker, 219 F. Supp. 3d 183, 188
                                                                                                15    (D.D.C. 2016) (citing Raich, 545 U.S. at 26).
                                                                                                16             20.   Due to the federal prohibition on cannabis, property used to
                                                                                                17    facilitate the cultivation, distribution, and manufacturing of cannabis is
                                                                                                18    subject to federal asset forfeiture laws, thus creating a risk that the
                                                                                                19    federal government could seize such property. 18 U.S.C. §§ 983, 985; 21
                                                                                                20    U.S.C. §§ 853, 881.
                                                                                                21             21.   Due to the federal prohibition on cannabis, property owners
                                                                                                22    can be charged with aiding and abetting a violation of the Controlled
                                                                                                23    Substance Act. 18 U.S.C. § 2; 21 U.S.C. § 846.
                                                                                                24             22.   Because SRH’s cannabis cultivation remains illegal at the
                                                                                                25    federal level, Defendants’ conduct is in violation of federal law. Neither
                                                                                                26    SRH nor Hughes can make use of, or seek to enforce the use of, the
                                                                                                27    Easement Road for purposes of cannabis cultivation or cannabis
                                                                                                28    transportation.
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                                                                                                                                     VERIFIED COMPLAINT
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                                                                                                 1             23.   Dealing in marijuana is also racketeering activity under
                                                                                                 2    RICO, and those who engage in a pattern of racketeering activity
                                                                                                 3    through a corporation or other enterprise are liable for three times the
                                                                                                 4    economic harm they cause plus costs and attorneys’ fees. Those who
                                                                                                 5    conspire with racketeers by agreeing to assist them are likewise liable.
                                                                                                 6    RICO also gives federal courts the power to order racketeering
                                                                                                 7    enterprises and their co-conspirators to cease their unlawful operations.
                                                                                                 8                             FIRST CAUSE OF ACTION
                                                                                                 9                           Violation of 18 U.S.C. § 1962(c)
                                                                                                10                   (All Defendants Except the Unknown Defendants)
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                                                                                                11             24.   Plaintiff hereby incorporates by reference the preceding
                                                                                                12    paragraphs of this Complaint as though fully set forth herein.
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13             25.   RICO creates a private right of action for “[a]ny person
                                                                                                14    injured in his business or property by reason of a violation of [18 U.S.C.
                                                                                                15    § 1962].” 18 U.S.C. § 1964(c).
                                                                                                16             26.   Under 18 U.S.C. § 1962(c), it is “unlawful for any person
                                                                                                17    employed by or associated with any enterprise engaged in, or the
                                                                                                18    activities of which affect, interstate or foreign commerce, to conduct or
                                                                                                19    participate, directly or indirectly, in the conduct of such enterprise’s
                                                                                                20    affairs through a pattern of racketeering activity.”
                                                                                                21             27.   Defendants Hughes, SRH, and Does (the “RICO
                                                                                                22    Defendants”) each violated this provision of 18 U.S.C. § 1962 by
                                                                                                23    cultivating cannabis on the Hughes Property and transporting such
                                                                                                24    cannabis over the Easement Road.
                                                                                                25             28.   Racketeering Activity. Because RICO defines as
                                                                                                26    “racketeering activity” any “offense involving … the felonious
                                                                                                27    manufacture, importation, receiving, concealment, buying, selling, or
                                                                                                28    otherwise dealing in a controlled substance” see 18 U.S.C. § 1961(1)(D),
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                                                                                                 1    Defendants committed “racketeering activity” through the cultivation of
                                                                                                 2    cannabis on the Hughes Property and the transportation of such
                                                                                                 3    cannabis over the Easement Road. On information and belief, the RICO
                                                                                                 4    Defendants engaged in such racketeering activity despite possessing
                                                                                                 5    actual knowledge that the cultivation, sale, and distribution of cannabis
                                                                                                 6    is illegal. On information and belief, the RICO Defendants used
                                                                                                 7    communication facilities to enter into their lease and their drug
                                                                                                 8    conspiracy in violation of 21 U.S.C. § 843(b). The RICO Defendants
                                                                                                 9    possess materials, goods, and facilities for the manufacture of cannabis
                                                                                                10    in violation of 21 U.S.C. § 843(a)(6). Further, the RICO Defendants
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                                                                                                11    distributed, dispensed, and possessed with intent to distribute and
                                                                                                12    dispense, the cannabis grown on the Hughes Property in violation of 21
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                                                         10345 W. Olympic Blvd.




                                                                                                13    U.S.C. § 841(a)(1). All of those crimes are racketeering activity under 18
                                                                                                14    U.S.C. § 1961(1)(D).
                                                                                                15             29.   Enterprise. Plaintiff is informed and believes, and on that
                                                                                                16    basis alleges, that the RICO Defendants formed an association-in-fact
                                                                                                17    enterprise within the meaning of 18 U.S.C. § 1961(4) by establishing
                                                                                                18    contractual and other relationships with each other, collaborating for
                                                                                                19    the purpose of developing the Hughes Property for cannabis cultivation,
                                                                                                20    and agreeing to sell that cannabis.
                                                                                                21             30.   Pattern. Plaintiff is informed and believes, and on that basis
                                                                                                22    alleges, that the RICO Defendants have each conducted or participated
                                                                                                23    in the conduct of the affairs of the enterprise through a pattern of
                                                                                                24    racketeering activity. Plaintiff is informed and believes, and on that
                                                                                                25    basis alleges, that they collectively entered into a lease under which the
                                                                                                26    Hughes Property has been used to commit numerous crimes under the
                                                                                                27    Controlled Substances Act, and that lease violates 21 U.S.C. § 856(a).
                                                                                                28    Id. (“[I]t shall be unlawful to – (1) knowingly open, lease, rent, use, or
                                                                                                     4393899
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                                                                                                                                     VERIFIED COMPLAINT
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                                                                                                 1    maintain any place, whether permanently or temporarily, for the
                                                                                                 2    purpose of manufacturing, distributing, or using any controlled
                                                                                                 3    substance”). Plaintiff is informed and believes, and on that basis
                                                                                                 4    alleges, that the RICO Defendants also conspired, in violation of 21
                                                                                                 5    U.S.C. § 846, to work together with the other members of the enterprise
                                                                                                 6    for the success of SRH’s open-ended illegal recreational cannabis
                                                                                                 7    operation.
                                                                                                 8             31.   Interstate commerce. Plaintiff is informed and believes,
                                                                                                 9    and on that basis alleges, that funding, goods, and services procured by
                                                                                                10    the enterprise have moved in interstate commerce, and the enterprise
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                                                                                                11    sells cannabis in interstate commerce.
                                                                                                12             32.   Culpable Persons. Plaintiff is informed and believes, and on
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                                                                                                13    that basis alleges, that Hughes, SRH, and an unknown number of Does
                                                                                                14    violated 18 U.S.C. § 1962(c) in the manner described above.
                                                                                                15             33.   Injury. Plaintiff is informed and believes, and on that basis
                                                                                                16    alleges, that the racketeering activities of the RICO Defendants have
                                                                                                17    directly and proximately injured the Plaintiff’s property. Specifically,
                                                                                                18    the lease, construction, and operation of the marijuana facility on the
                                                                                                19    Hughes Property in violation of 21 U.S.C. § 856 and the drug conspiracy
                                                                                                20    of which those actions are a part directly and proximately injured
                                                                                                21    Plaintiff’s property by diminishing the Crandall Parcel’s market value.
                                                                                                22    In particular, the RICO Defendants’ use of the Easement Road to
                                                                                                23    distribute and dispense cannabis diminishes the property value of the
                                                                                                24    Crandall Parcel. In addition, the RICO Defendants’ use of the
                                                                                                25    Easement Road to distribute and dispense cannabis in violation of the
                                                                                                26    Controlled Substances Act subjects Plaintiff to the risk of forfeiture of
                                                                                                27    its property under 18 U.S.C. §§ 983 & 985 and 21 U.S.C. §§ 853 & 881,
                                                                                                28    and diminishes the value of the Crandall Parcel.
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                                                                                                                                     VERIFIED COMPLAINT
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                                                                                                 1             34.   Plaintiff demands trial by jury for all issues relating to this
                                                                                                 2    claim.
                                                                                                 3                            SECOND CAUSE OF ACTION
                                                                                                 4                            Violation of 18 U.S.C. § 1962(d)
                                                                                                 5                    (All Defendants Except the Unknown Defendants)
                                                                                                 6             35.   Plaintiff hereby incorporates by reference the preceding
                                                                                                 7    paragraphs of this Complaint as though fully set forth herein.
                                                                                                 8             36.   RICO creates a private right of action for “[a]ny person
                                                                                                 9    injured in his business or property by reason of a violation of [18 U.S.C.
                                                                                                10    § 1962].” 18 U.S.C. § 1964(c). Under 18 U.S.C. § 1962(d), it is “unlawful
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                                                                                                11    for any person to conspire to violate any of the provisions of subsection
                                                                                                12    (a), (b), or (c) of this section.” Plaintiff is informed and believes, and on
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                                                         10345 W. Olympic Blvd.




                                                                                                13    that basis alleges, that the RICO Defendants agreed and conspired to
                                                                                                14    violate 18 U.S.C. § 1962(c).
                                                                                                15             37.   The RICO Defendants each violated this provision of 18
                                                                                                16    U.S.C. § 1962 by conspiring to cultivate cannabis on the Hughes
                                                                                                17    Property and to transport such cannabis over the Easement Road.
                                                                                                18             38.   Racketeering Activity. Because RICO defines as
                                                                                                19    “racketeering activity” any “offense involving … the felonious
                                                                                                20    manufacture, importation, receiving, concealment, buying, selling, or
                                                                                                21    otherwise dealing in a controlled substance” see 18 U.S.C. § 1961(1)(D),
                                                                                                22    Defendants committed “racketeering activity” through the cultivation of
                                                                                                23    cannabis on the Hughes Property and the transportation of such
                                                                                                24    cannabis over the Easement Road. On information and belief, the RICO
                                                                                                25    Defendants engaged in such racketeering activity despite possessing
                                                                                                26    actual knowledge that the cultivation, sale, and distribution of cannabis
                                                                                                27    is illegal. On information and belief, the RICO Defendants used
                                                                                                28    communication facilities to enter into their lease and their drug
                                                                                                     4393899
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                                                                                                                                      VERIFIED COMPLAINT
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                                                                                                 1    conspiracy in violation of 21 U.S.C. § 843(b). The RICO Defendants
                                                                                                 2    possess materials, goods, and facilities for the manufacture of cannabis
                                                                                                 3    in violation of 21 U.S.C. § 843(a)(6). Further, the RICO Defendants
                                                                                                 4    distributed, dispensed, and possessed with intent to distribute and
                                                                                                 5    dispense, the cannabis grown on the Hughes Property in violation of 21
                                                                                                 6    U.S.C. § 841(a)(1). All of those crimes are racketeering activity under 18
                                                                                                 7    U.S.C. § 1961(1)(D).
                                                                                                 8             39.   Enterprise. The RICO Defendants formed an association-in-
                                                                                                 9    fact enterprise within the meaning of 18 U.S.C. § 1961(4) by
                                                                                                10    establishing contractual and other relationships with each other,
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                                                                                                11    collaborating for the purpose of developing the Hughes Property for
                                                                                                12    cannabis cultivation, and agreeing to sell that cannabis.
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                                                         10345 W. Olympic Blvd.




                                                                                                13             40.   Pattern. The RICO Defendants have each conducted or
                                                                                                14    participated in the conduct of the affairs of the enterprise through a
                                                                                                15    pattern of racketeering activity. They collectively entered into a lease
                                                                                                16    under which the Hughes Property has been used to commit numerous
                                                                                                17    crimes under the Controlled Substances Act, and that lease violates 21
                                                                                                18    U.S.C. § 856(a). Id. (“[I]t shall be unlawful to -- (1) knowingly open,
                                                                                                19    lease, rent, use, or maintain any place, whether permanently or
                                                                                                20    temporarily, for the purpose of manufacturing, distributing, or using
                                                                                                21    any controlled substance”). On information and belief, the RICO
                                                                                                22    Defendants also conspired, in violation of 21 U.S.C. § 846, to work
                                                                                                23    together with the other members of the enterprise for the success of
                                                                                                24    SRH’s open-ended illegal recreational cannabis operation.
                                                                                                25             41.   Interstate commerce. Plaintiff is informed and believes,
                                                                                                26    and on that basis alleges, that funding, goods, and services procured by
                                                                                                27    the enterprise have moved in interstate commerce, and the enterprise
                                                                                                28    sells cannabis in interstate commerce.
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                                                                                                 1             42.   Culpable Persons. Plaintiff is informed and believes, and on
                                                                                                 2    that basis alleges, that Hughes, SRH, and an unknown number of Does
                                                                                                 3    violated 18 U.S.C. § 1962(c), (d) in the manner described above.
                                                                                                 4             43.   Injury. Plaintiff is informed and believes, and on that basis
                                                                                                 5    alleges, that the racketeering activities of the RICO Defendants have
                                                                                                 6    directly and proximately injured the Plaintiff’s property. Specifically,
                                                                                                 7    the lease, construction, and operation of the marijuana facility on the
                                                                                                 8    Hughes Property in violation of 21 U.S.C. § 856 and the drug conspiracy
                                                                                                 9    of which those actions are a part directly and proximately injured
                                                                                                10    Plaintiff’s property by diminishing the Crandall Parcel’s market value.
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                                                                                                11    In particular, the RICO Defendants’ use of the Easement Road to
                                                                                                12    distribute and dispense cannabis diminishes the property value of the
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13    Crandall Parcel. In addition, the RICO Defendants’ use of the
                                                                                                14    Easement Road to distribute and dispense cannabis in violation of the
                                                                                                15    Controlled Substances Act subjects Plaintiff to the risk of forfeiture of
                                                                                                16    its property under 18 U.S.C. §§ 983 & 985 and 21 U.S.C. §§ 853 & 881,
                                                                                                17    and diminishes the value of the Crandall Parcel.
                                                                                                18             44.   Agreement. The RICO Defendants, for their mutual and
                                                                                                19    individual profit, agreed and conspired to violate 18 U.S.C. § 1962(c) by
                                                                                                20    forming an association-in-fact enterprise for the purpose of cultivating
                                                                                                21    cannabis on the Hughes Property and transporting such cannabis over
                                                                                                22    the Easement Road. The RICO Defendants knew that this unlawful
                                                                                                23    scheme could only be accomplished through a pattern of racketeering
                                                                                                24    activity, for maintaining a premise at which cannabis is cultivated and
                                                                                                25    sold, cultivating and selling cannabis, and possessing the goods and
                                                                                                26    materials needed to cultivate and process cannabis are all crimes under
                                                                                                27    the Controlled Substances Act. See, e.g., 21 U.S.C. §§ 841(a), 843(a)(6),
                                                                                                28    856.
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                                                                                                 1             45.   Plaintiff demands trial by jury for all issues relating to this
                                                                                                 2    claim.
                                                                                                 3                             THIRD CAUSE OF ACTION
                                                                                                 4               Quiet Title in Easement – Prohibition on Cannabis
                                                                                                 5                                     Transportation
                                                                                                 6                                 (Against All Defendants)
                                                                                                 7             46.   Plaintiff hereby incorporates by reference the preceding
                                                                                                 8    paragraphs of this Complaint as though fully set forth herein.
                                                                                                 9             47.   Plaintiff is informed and believes, and on that basis alleges,
                                                                                                10    that the Easement does not allow Defendants to use the Easement Road
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                                                                                                11    to transport cannabis, since such cannabis transportation is prohibited
                                                                                                12    under the Controlled Substances Act.
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                                                                                                13             48.   Plaintiff is informed and believes, and on that basis alleges,
                                                                                                14    that Defendants’ currently use, and intend to continue to use, the
                                                                                                15    Easement Road to transport cannabis, in violation of the Controlled
                                                                                                16    Substances Act.
                                                                                                17             49.   Plaintiff is informed and believes, and on that basis alleges
                                                                                                18    that Defendants’ transportation of cannabis over the portion of the
                                                                                                19    Easement Road that traverses the Crandall Parcel subjects Plaintiff, as
                                                                                                20    fee owner of the Crandall Parcel, to liability and criminal prosecution for
                                                                                                21    aiding and abetting a violation of the Controlled Substance Act.
                                                                                                22             50.   Plaintiff seeks to quiet title in the Easement to permanently
                                                                                                23    enjoin Defendants from conducting actions over the portion of the
                                                                                                24    Easement Road that traverses the Crandall Parcel that violate laws,
                                                                                                25    including without limitation the Controlled Substances Act, which
                                                                                                26    actions specifically include the transportation of cannabis in violation of
                                                                                                27    the Controlled Substances Act.
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                                                                                                 1             51.   Plaintiff demands trial by jury for all issues relating to this
                                                                                                 2    claim.
                                                                                                 3                            FOURTH CAUSE OF ACTION
                                                                                                 4              Public and Private Nuisance Against All Defendants
                                                                                                 5               (Against All Defendants Except the Unknown Defendants)
                                                                                                 6             52.   Plaintiff hereby incorporates by reference the preceding
                                                                                                 7    paragraphs of this Complaint as though fully set forth herein.
                                                                                                 8             53.   Plaintiff is informed and believes and thereon alleges that
                                                                                                 9    businesses engaged in cannabis cultivation — because it remains an
                                                                                                10    illegal activity under federal law — cannot transact with banks, credit
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                                                                                                11    card issuers, and other financial institutions as other business routinely
                                                                                                12    do. As a consequence, cannabis enterprises must rely on the exchange
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                                                         10345 W. Olympic Blvd.




                                                                                                13    of cash to conduct business.
                                                                                                14             54.   Because thieves and violent criminals target cash-intensive
                                                                                                15    businesses, the presence of a cash-only cannabis enterprise increases
                                                                                                16    the likelihood of crime on SRH’s property and for SRH’s neighbors,
                                                                                                17    including Plaintiff. The increased likelihood of crime poses a significant
                                                                                                18    safety hazard and significantly interferes with Plaintiff’s quiet
                                                                                                19    enjoyment of its land.
                                                                                                20             55.   An ordinary person would reasonably be annoyed or disturbed
                                                                                                21    by his or her land being used to carry out illegal enterprises and by the
                                                                                                22    increased likelihood of crime attendant to an illegal, cash-intensive
                                                                                                23    business.
                                                                                                24             56.   Because SRH’s cannabis cultivation activities necessarily
                                                                                                25    entail transporting cannabis illegally under federal law and will attract
                                                                                                26    crime, Defendants’ operation of a cannabis enterprise on the Hughes
                                                                                                27    Property is injurious to health, indecent, offensive to the senses, and
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                                                                                                 1    unreasonably interferes with Plaintiff’s free use of its property, thereby
                                                                                                 2    causing Plaintiff to suffer property damage and economic loss.
                                                                                                 3             57.   By conducting such cannabis cultivation activities,
                                                                                                 4    Defendants have willfully and intentionally created a nuisance that
                                                                                                 5    constitutes a substantial obstruction to the free use of the Crandall
                                                                                                 6    Parcel. Such nuisance is a substantial factor in causing Plaintiff’s
                                                                                                 7    harm.
                                                                                                 8             58.   The seriousness of the harm inflicted by Defendants
                                                                                                 9    outweighs the public benefit of Defendants’ conduct.
                                                                                                10             59.   Plaintiff demands trial by jury for all issues relating to this
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                                                                                                11    claim.
                                                                                                12                              FIFTH CAUSE OF ACTION
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13                                   Declaratory Relief
                                                                                                14                                  (Against All Defendants)
                                                                                                15             60.   Plaintiff hereby incorporates by reference the preceding
                                                                                                16    paragraphs of this Complaint as though fully set forth herein.
                                                                                                17             61.   A present and actual controversy now exists between Plaintiff
                                                                                                18    and Defendants, and each of them. Plaintiff contends, among other
                                                                                                19    things, that:
                                                                                                20                   a.   Plaintiff is the current owner in fee of the Crandall
                                                                                                21                        Parcel;
                                                                                                22                   b.   SRH is transporting, and plans to continue to transport,
                                                                                                23                        cannabis over the portion of the Easement Road that
                                                                                                24                        traverses the Crandall Parcel, in violation of the
                                                                                                25                        Controlled Substances Act and in excess of the scope of
                                                                                                26                        the Easement Deed; and
                                                                                                27                   c.   Hughes consents to SRH transporting cannabis over the
                                                                                                28                        portion of the Easement Road that traverses the
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                                                                                                 1                        Crandall Parcel, in violation of the Controlled
                                                                                                 2                        Substances Act, and financially benefits from such
                                                                                                 3                        cannabis transportation.
                                                                                                 4             62.   Plaintiff is informed and believes and thereon alleges that
                                                                                                 5    Defendants, and each of them, contend that the Easement allows
                                                                                                 6    cannabis to be transported over the portion of the Easement Road that
                                                                                                 7    traverses the Crandall Parcel in violation of law, including without
                                                                                                 8    limitation the Controlled Substances Act.
                                                                                                 9             63.   Defendants plan to force Plaintiff to endure illegal cannabis
                                                                                                10    operations over the Crandall Parcel, without Plaintiff’s consent and over
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                                                                                                11    Plaintiff’s objections, which both exceeds the scope of the Easement and
                                                                                                12    subjects Plaintiff to liability and criminal prosecution for aiding and
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13    abetting cannabis activities and which could subject the Crandall Parcel
                                                                                                14    to seizure.
                                                                                                15             64.   Plaintiff therefore seeks a judicial declaration that
                                                                                                16    Defendants, and each of them, lack any legal or equitable right to make
                                                                                                17    use of or enter upon the portion of the Easement Road that traverses the
                                                                                                18    Crandall Parcel for purposes of transporting cannabis, and all products
                                                                                                19    derived from cannabis, in violation of any laws, including without
                                                                                                20    limitation that Controlled Substances Act.
                                                                                                21             65.   Plaintiff also seeks a judicial declaration that Defendants,
                                                                                                22    and each of them, lack any legal or equitable right to make use of or to
                                                                                                23    enter upon the portion of the Easement Road that traverses the
                                                                                                24    Crandall Parcel for purposes of transporting cannabis, and all products
                                                                                                25    derived from cannabis, since such use exceeds the scope of the
                                                                                                26    Easement, which Easement was never intended to allow the
                                                                                                27    transportation of cannabis in violation of federal law.
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                                                                                                 1             66.   Plaintiff also seeks a judicial declaration permanently
                                                                                                 2    enjoining Defendants from transporting cannabis over the portion of the
                                                                                                 3    Easement Road that traverses the Crandall Parcel.
                                                                                                 4             67.   A judicial determination is necessary and appropriate so that
                                                                                                 5    Plaintiff and Defendants may establish their rights associated with the
                                                                                                 6    Easement. Because Plaintiff may have no other adequate remedy at
                                                                                                 7    law, this relief is necessary and appropriate.
                                                                                                 8             68.   Plaintiff demands trial by jury for all issues relating to this
                                                                                                 9    claim.
                                                                                                10                                PRAYER FOR RELIEF
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                                                                                                11             WHEREFORE, Plaintiff prays for judgment against Defendants
                                                                                                12 as follows:
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13             1.    On the First and Second Causes of Action, for a judgment
                                                                                                14 awarding Plaintiff three times the damages to its property that was
                                                                                                15 caused by the RICO Defendants’ racketeering activities; and enjoining
                                                                                                16 the RICO Defendants from continuing to engage in racketeering
                                                                                                17 activities;
                                                                                                18             2.    On the Third Cause of Action, for a judgment quieting title in
                                                                                                19 the Easement that adjudges that actions that violate law, including
                                                                                                20 cannabis transportation in violation of the Controlled Substances Act,
                                                                                                21 may not be conducted on the portion of the Easement Road that
                                                                                                22 traverses the Crandall Parcel;
                                                                                                23             3.    On the Fourth Cause of Action for nuisance, for an award of
                                                                                                24 all of Plaintiff’s damages in an amount to be determined at trial and a
                                                                                                25 judgment permanently enjoining the nuisance;
                                                                                                26             4.    On the Fifth Cause of Action, for a judicial declaration that
                                                                                                27 Defendants, and each of them, lack any legal or equitable right to make
                                                                                                28 use of or enter upon the Easement Road for purposes of transporting
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                                                                                                 1 cannabis, and all products derived from cannabis, in violation of the
                                                                                                 2 Controlled Substances Act;
                                                                                                 3             5.    On the Fifth Cause of Action, for a judicial declaration that
                                                                                                 4 Defendants, and each of them, lack any legal or equitable right to make
                                                                                                 5 use of or enter upon the Easement Road for purposes of transporting
                                                                                                 6 cannabis, and all products derived from cannabis, since such use exceeds
                                                                                                 7 the scope of the Easement;
                                                                                                 8             6.    On the Third, Fourth, and Fifth Causes of Action, for a
                                                                                                 9 temporary restraining order, preliminary injunction, and permanent
                                                                                                10 injunction prohibiting Defendants, and each of them, from entering,
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                                                                                                11 traversing, or making use of any kind, of the portion of the Easement
                                                                                                12 Road that traverses the Crandall Parcel for purposes of transporting
                                                      Los Angeles, California 90064
                                                         10345 W. Olympic Blvd.




                                                                                                13 cannabis and all products derived from cannabis in violation of the
                                                                                                14 Controlled Substances Act;
                                                                                                15             7.    For attorneys’ fees;
                                                                                                16             8.    For costs of suit in this action;
                                                                                                17             9.    For interest in all sums awarded; and
                                                                                                18             10.   For all other relief that the Court deems just and proper.
                                                                                                19
                                                                                                20 DATED: December 17, 2021 ELKINS KALT WEINTRAUB REUBEN
                                                                                                                            GARTSIDE LLP
                                                                                                21
                                                                                                22
                                                                                                23
                                                                                                                                         By:           /s/ Ernest J. Guadiana
                                                                                                24                                             ERNEST J. GUADIANA
                                                                                                25                                             Attorneys for Plaintiff JCCRANDALL
                                                                                                                                               LLC
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                                                                              1                                        VERIFICATION

                                                                              2 STATE OF CALIFORNIA, COUNTY OF SANTA BARBARA

                                                                              3             I have read the foregoing VERIFIED COMPLAINT FOR: 1. VIOLATION

                                                                              4 OF 18 U.S.C. § 1961(c); 2. VIOLATION OF 18 U.S.C. § 1961(d); 3. QUIET

                                                                              5 TITLE TO EASEMENT USE; 4. PUBLIC AND PRIVATE NUISANCE; AND 5.

                                                                              6 DECLARATORY RELIEF and know its contents.

                                                                              7             I am the managing member of JCCRANDALL LLC, a party to this action. I

                                                                              8 am authorized by JCCRANDALL LLC to make this verification for and on its behalf.

                                                                              9 The factual matters stated in the foregoing document are true of my own knowledge

                                                                             10 except as to those matters which are stated on information and belief, and as to those

                                                                             11 matters, I believe them to be true.
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                                                                             12             I declare under penalty of perjury under the laws of the State of California
                                            Los Angeles, California 90064
                                               10345 W. Olympic Blvd.




                                                                             13 that the foregoing is true and correct.

                                                                             14             Executed on _____________________.

                                                                             15

                                                                             16

                                                                             17 Janna Caron Crandall

                                                                             18

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                                                                                                       CRANDALL VERIFICATION TO VERIFIED COMPLAINT
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